      Case 3:16-cv-03098-K Document 1 Filed 11/04/16                   Page 1 of 4 PageID 1


                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                    :
Saurish Halder,                                     :
                                                      Civil Action No.: 3:16-cv-3098
                                                                        ______
                                                    :
                        Plaintiff,                  :
        v.                                          :
                                                    :
Dallas Independent School District,                 :
                                                      COMPLAINT
                                                    :
                        Defendant.                  :
                                                    :
                                                    :

        For this Complaint, Plaintiff, Saurish Halder, by undersigned counsel, states as follows:

                                          JURISDICTION

        1.      This action arises out of Defendant’s violations of the Telephone Consumer

Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”).

        2.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that Defendant

transacts business in this District and a substantial portion of the acts giving rise to this action

occurred in this District.

                                              PARTIES

        3.      Plaintiff, Saurish Halder (“Plaintiff”), is an adult individual residing in Irving,

Texas, and is a “person” as defined by 47 U.S.C. § 153(39).

        4.      Defendant Dallas Independent School District (“DISD”), is a Texas business

entity with an address of 3700 Ross Avenue, Dallas, Texas 75204-5491, and is a “person” as

defined by 47 U.S.C. § 153(39).
      Case 3:16-cv-03098-K Document 1 Filed 11/04/16                 Page 2 of 4 PageID 2


                                             FACTS

       5.      In or around January 2014, DISD began placing calls Plaintiff’s cellular

telephone, number 214-xxx-2169, using an automatic telephone dialing system (“ATDS”) and/or

using an artificial or prerecorded voice.

       6.      When Plaintiff answered calls from DISD, he heard a prerecorded message

regarding DISD events.

       7.      Plaintiff does not have a relationship with DISD and never requested by

agreement or otherwise that it call his cellular telephone number,

       8.      On several occasions, Plaintiff advised DISD that he had no children in the school

system and directed DISD to remove his number from its list.

       9.      Nevertheless, DISD continued to place automated calls to Plaintiff’s cellular

telephone number.

                                   COUNT I
                  VIOLATIONS OF THE TCPA – 47 U.S.C. § 227, ET SEQ.

       10.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

       11.     Without prior express consent, Defendant placed automated calls to Plaintiff’s

cellular telephone number in violation of 47 U.S.C. § 227(b)(1)(A)(iii).

       12.     Defendant continued to place automated calls to Plaintiff’s cellular telephone

number despite knowing that it lacked consent to do so. As such, each call placed to Plaintiff

was made in knowing and/or willful violation of the TCPA, and subject to treble damages

pursuant to 47 U.S.C. § 227(b)(3)(C).

       13.     The telephone number called by Defendant was assigned to a cellular telephone

service for which Plaintiff incurs charges pursuant to 47 U.S.C. § 227(b)(1).

                                                2
         Case 3:16-cv-03098-K Document 1 Filed 11/04/16              Page 3 of 4 PageID 3


          14.   Plaintiff was annoyed, harassed and inconvenienced by Defendant’s continued

calls.

          15.   The calls from Defendant to Plaintiff were not placed for “emergency purposes”

as defined by 47 U.S.C. § 227(b)(1)(A)(i).

          16.   Defendant’s telephone system has the capacity to store numbers in a random and

sequential manner.

          17.   As a result of each call made in negligent violation of the TCPA, Plaintiff is

entitled to an award of $500.00 in statutory damages for each call in violation of the TCPA

pursuant to 47 U.S.C. § 227(b)(3)(B).

          18.   As a result of each call made in knowing and/or willful violation of the TCPA,

Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00 pursuant to 47

U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

                                     PRAYER FOR RELIEF

                WHEREFORE, Plaintiff prays that judgment be entered against Defendant:

                A. Statutory damages of $500.00 for each violation determined to be negligent

                   pursuant to 47 U.S.C. § 227(b)(3)(B);

                B. Treble damages for each violation determined to be willful and/or knowing

                   pursuant to 47 U.S.C. § 227(b)(3)(C); and

                C. Such other and further relief as may be just and proper.

                         TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: November 4, 2016
                                              Respectfully submitted,

                                              By /s/ Jenny DeFrancisco

                                              Jenny DeFrancisco, Esq.
                                              CT Bar # 432383
                                                  3
Case 3:16-cv-03098-K Document 1 Filed 11/04/16   Page 4 of 4 PageID 4


                              LEMBERG LAW, L.L.C.
                              43 Danbury Road, 3rd Floor
                              Wilton, CT 06897
                              Telephone: (203) 653-2250
                              Facsimile: (203) 653-3424
                              E-mail: jdefrancisco@lemberglaw.com
                              Attorneys for Plaintiff




                                 4
